Case 1:19-cv-00010-DMT-CRH Document1 Filed 01/10/19 Page 1 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA
WESTERN DIVISION

Quiah Saydee,
Plaintiff, Case No.

COMPLAINT AND DEMAND
FOR JURY TRIAL

V.

North Dakota Department of Corrections
and Rehabilitation,

Defendant.

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COMES NOW Plaintiff, by and through his counsel of record, for his Complaint and

causes of action against the above-named Defendant, states and alleges as follows:
PARTIES

1. Plaintiff, Quiah Saydee, is an individual person who, at all times relevant herein,
was an “employee” of Defendant’s, as the term is defined by Title VII of the Civil Rights
Act of 1964, as amended. Plaintiff is presently a resident and domiciliary of the state of
North Dakota. Plaintiff’s race is black and he is of Liberian national origin.
2. At all times relevant herein, Defendant, the North Dakota Department of
Corrections and Rehabilitation (‘ND DOCR”), has been doing business in the State of
North Dakota and, is an “employer” of over 500 employees, as the term is defined by
Title VII of the Civil Rights Act of 1964, as emended.
3. At all times relevant herein, ND DOCR acted by and through its agents, servants,
and employees, each of whom acted at all times relevant herein, in the course and scope
of their employment with and for ND DOCR.

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4. Plaintiff bases his claims on Title VII of the Civil Rights Act of 1964, as amended,
Title 42 U.S.C. § 2000e et seg. As such, this Court has federal question subject matter

jurisdiction pursuant to Title 28 U.S.C. §§ 1331 and 1343.

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LAWYERS

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Case 1:19-cv-00010-DMT-CRH Document1 Filed 01/10/19 Page 2 of 5

D; The employment practices alleged to be unlawful were committed within the
jurisdiction of the United States District Court for the Western District of North Dakota.

ADMINISTRATIVE PROCEDURES

 

6. More than thirty (30) days prior to the institution of this lawsuit, Plaintiff filed
charges of employment discrimination against ND DOCR with the United States Equal
Employment Opportunity Commission (“EEOC”). The allegations and adverse
employment actions which were the subject of those charges are the subject of this
action. This action is filed within 90 days of the date on which the Plaintiff received the
earliest notice of right to sue from the U.S. Department of Justice Civil Rights Division.
As such, all conditions precedent to the institution of this lawsuit have been fulfilled.
FACTUAL BACKGROUND
Ts Plaintiff was hired by ND DOCR as a Correctional Officer II on or about November
2, 2015.
8. At all relevant times herein, Plaintiff met ND DOCR’s legitimate employment
expectations.
9. From approximately November 2015, ND DOCR engaged in unlawful employment
practices in violation of Sections 703(a)(1) of Title VII, 42 U.S.C. §§ 2000e-2(a)(1). ND
DOCR subjected Plaintiff to discrimination and a hostile work environment based on his race.
10. — Upon information and belief, during Plaintiff's employment with ND DOCR, it did
not employ any black employees in supervisory positions such as Sergeants, Lieutenants,
or Captains.
141. ND DOCR has and continues to engage in a pattern and practice of failing to hire
qualified black individuals, failing to promote qualified black employees in favor of less
qualified white employees, failing to provide black employees with training that would

allow for advancement and failing to provide black employees with jobs posts.

   

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LAWYERS
Case 1:19-cv-00010-DMT-CRH Document 1 Filed 01/10/19 Page 3 of 5

12. During his employment, Plaintiff was denied opportunities for promotions.

13. Plaintiff applied for Lieutenant/Correctional Supervisor I, Juvenile Residential
Specialist I, Juvenile Corrections Institutional Case Manager, and Correctional Case
Manager and was not awarded any of these promotions.

14. Plaintiff was qualified for the promotions for which he applied, was denied the
promotions for which he applied, and for every promotion for which he applied, the
position was either unfilled or was given to someone not in Plaintiff's same protected
class instead.

LS, During his employment, Plaintiff was also discriminated against with regard to the
terms and conditions of his employment all based on his race.

16. Plaintiff and other black employees were treated differently, held to different
standards, and disciplined disproportionately all as compared to other white employees.
17. | The practices complained of in Paragraph 19 include, but are not limited to: assigning
menial jobs to Plaintiff during his shift while giving more desirable jobs to other white
officers, and even though Plaintiff had more training, education, and experience than some
of them; minimizing and/or suppressing Plaintiffs and other black or minority officers’
professional contributions and achievements at team meetings, while commending other
white officers’ professional contributions and achievements at these team meetings; and
ridiculing and reprimanding Plaintiff for interacting with other black officers during Plaintiff's
shift while other white officers are not ridiculed and/or reprimanded for engaging in
conversation with each other during their shift. .

18. During his employment, Plaintiff was also subjected to a harassing work
environment based on his race.

19. The practices eomoianied of in Paragraph 21 include, but are not limited to, Plaintiff’s

white supervising officers’ subjecting Plaintiff to offensive, and unwelcomed race-based

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Case 1:19-cv-00010-DMT-CRH Document1 Filed 01/10/19 Page 4 of 5

conduct including: calling Plaintiff racially charged names including “boy” and “African.”
Another white supervising officer demanded that Plaintiff tell him his medical diagnosis when
Plaintiff called in sick because “he doesn’t know what he brought over here.”

20. During Plaintiff's employment, ND DOCR allowed supervising officers to exhibit and
express racial stereotypes and biased views about black individuals and failed to remedy
the environment that fostered racial stereotypes and biased views about black individuals.
21. Asa -result of ND DOCR’s discriminatory practices and hostile work environment,
Plaintiff was constructively discharged on or about October 9, 2017.

COUNT 1:
RACE DISCRIMINATION/HOSTILE WORK ENVIRONMENT

22. The foregoing paragraphs are incorporated herein in their entirety as if set forth
in full.

23.  42U.S.C. § 2000e et seq. provides that it is unlawful for an employer to discriminate
against any individual with respect to his compensation terms, conditions, or privileges of
employment, because of such individual's race.

24. The effect of the unlawful employment practices complained of above in Paragraphs
9-21 has been to deprive Plaintiff of equal opportunities, and otherwise adversely affect his
status as an employee because of his race.

25. The unlawful employment practices complained of above were intentional and/or
with reckless indifference to Plaintiff's federally protected rights.

26. Asaresult of ND DOCR’s violation of 42 U.S.C. § 2000e et seq., Plaintiff has suffered
and will continue to suffer loss of past and future income and employee benefits, mental
anguish, emotional distress, embarrassment, and other damages.

27. The total amount of damages suffered by Plaintiff are in excess of $75,000, to be

further determined at trail.
Case 1:19-cv-00010-DMT-CRH Document 1 Filed 01/10/19 Page 5o0f5

PRAYER FOR RELIEF
28. WHEREFORE, Plaintiff respectfully requests this Court:

A. Order ND DOCR to make whole Plaintiff by providing compensation for past
and future pecuniary losses resulting from the unlawful employment practices described
in Paragraphs 9-21 above, including but not limited to, out-of-pocket expenses, lost pay
and benefits, and job search expenses, in amounts to be determined at trial;

B. Order ND DOCR to make whole Plaintiff by providing compensation for past
and future non-pecuniary losses resulting from the unlawful practices complained of in
Paragraphs 9-21 above, including but not limited to, emotional pain, suffering,

inconvenience, loss of enjoyment of life, and humiliation, in amounts to be determined

at trial;

C. Award of all Plaintiff’s costs and disbursements herein, including attorneys’
fees; and

D. Grant such further relief as the Court deems just and equitable.

JURY DEMAND
29. Plaintiff Quiah Saydee demands a trial by jury on all issues triable to a jury. -
Dated this 10th day of January, 2019.

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